                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                 DOCKET NO. 3:07CR119-FDW

UNITED STATES OF AMERICA,
                Plaintiff,
          v.

(4) ALFREDO SUSI,
                  Defendant.
_____________________________________

              ORDER FOR RETURN OF RESTORED FORFEITED FUNDS

       Upon good cause shown based on the Motion for Return of Restored Forfeited Funds

(Doc. 252), the Court herein orders the Clerk to return any and all forfeited funds in this case

that were transferred to the Court pursuant to 21 U.S.C. § 853(i), along with interest accrued on

those funds, back to the Department of Justice as directed by the United States Marshals Service.

The United States is hereby directed to serve a copy of this Order on the Financial Deputy Clerk

or Acting Financial Deputy Clerk.

                                                 Signed: March 16, 2012




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